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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 PAUL M. ROSENBLATT
 DANIELLE BARAV-JOHNSON
 KILPATRICK TOWNSEND & STOCKTON LLP
 1100 Peachtree Street, Suite 2800
 Atlanta, Georgia 30309-4530
 Telephone: (404) 815-6500
 Facsimile: (404) 815-6555
 E-mail: prosenblatt@ktslaw.com
 E-mail: dbarav-johnson@ktslaw.com




 Attorney for: TClub Inc.

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                               DIVISION

In re:
                                                                             CASE NO.: 1:24-bk-10646-MB
SYNAPSE FINANCIAL TECHNOLOGIES,
INC.                                                                         ADVERSARY NO.:
                                                                             CHAPTER: 11




                                                              Debtor(s).


                                                                                       APPLICATION OF NON-RESIDENT
                                                                                         ATTORNEY TO APPEAR IN A
                                                                                        SPECIFIC CASE [LBR 2090-1(b)]
                                                             Plaintiff(s).
                                    vs.




                                                                                        [No hearing required per LBR 2090-1(b)(6)]
                                                         Defendant(s).


1. I, Paul M. Rosenblatt                                                                               , apply to the
   court under LBR 2090-1(b) for permission to appear and participate in the above-entitled action on behalf of the
   following named party, by whom I have been retained (specify name of party):
    TClub Inc.

2. I have paid the required fee specified in LBR 2090-1(b)(5) to the United States District Court and have attached a
   copy of the receipt.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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3. I am a lawyer with the following law firm (specify name and address of law firm):
    KILPATRICK TOWNSEND & STOCKTON LLP
    1100 Peachtree Street, Suite 2800, Atlanta, GA 30309

4. I am a member in good standing and eligible to practice before the following courts and admitted to practice on the
   following dates (specify name of each such jurisdiction and my date of admission to practice in each such jurisdiction):
    New Jersey Admitted 12-19-1994, New York Admitted 5-23-1995, Georgia Admitted 7-23-1997, U.S. Court of
    Appeals for the District of Columbia Admitted 11/6/2003, U.S. see additional page for remaining courts
5. I am not a resident of, nor am I regularly employed, engaged in business, professional or other activities in the state of
   California. I am not currently suspended or disbarred in any court.

6. I have concurrently or within the past 36 months made pro hac vice applications to this court in the following actions:


                                                                                                   Date of
            Court                Case Number                     Title of Action                                      Disposition of Application
                                                                                                 Application




7. I    have       have not been disciplined by any court or administrative body                              disciplinary proceedings are
   pending; details are as follows:




    I       resigned          did not resign       while disciplinary proceedings were pending.

8. I certify that I have read the LBRs, the FRBP, the F.R.Civ.P., and the F.R.Evid., in their entirety.

9. I designate the following person of the following law firm, who is a member of the bar of this court and maintains an
   office in this district for the practice of law, as the attorney with whom the court and opposing counsel may readily
   communicate regarding the conduct of this case, and upon whom papers may be served:

    Name of attorney (Designee):
    Raymond Aghaian
    Name and address of law firm, or residence address:
    Kilpatrick Townsend & Stockton LLP
    1801 Centry Park East, Suite 2300
    Los Angeles, CA 90067

    Telephone number of law firm: (310) 248-3430




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10. I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



Date: 05/23/2024



                                                                                  Signature of applicant


                                                                                  Paul M. Rosenblatt
                                                                                  Printed name of applicant


                                                            CONSENT OF DESIGNEE

I consent to the foregoing designation.


Date: 05/23/2024



                                                                                  Signature of Designee


                                                                                  Raymond Aghaian
                                                                                  Printed name of Designee




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  4. Court of Appeals for the Eleventh Circuit Admitted 10-14-1997, U.S. Court of Appeals for the Third
  Circuit Admitted 4-30-1998, U.S. District Court for the District of New Jersey Admitted 12-30-1994, U.S.
  District Court for the Eastern District of New York Admitted 8-27-1996, U.S. District Court for the Middle
  District of Georgia Admitted 3-4-2002, U.S. District Court for the Northern District of Georgia Admitted
  10-14-1997, U.S. District Court for the Northern District of Illinois Admitted 1-29-1994, U.S. District
  Court for the Northern District of New York Admitted 11-4-2002, U.S. District Court for the Northern
  District of Texas Admitted 11-7-2001, U.S. District Court for the Southern District of New York Admitted
  8-6-1996, U.S. District Court for the Southern District of Texas Admitted 10-29-2001




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1801 Centry Park East, Suite 2300
Los Angeles, CA 90067
A true and correct copy of the foregoing document entitled: APPLICATION OF NON-RESIDENT ATTORNEY TO
APPEAR IN A SPECIFIC CASE [LBR 2090-1(b)] will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  05/23/2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

**JUDGE’S COPY NOT REQUIRED IF LESS THAN 25 PAGES (GENERAL ORDER 23-01).




                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/23/2024           Raymond Aghaian                                                   /s/ Raymond Aghaian
 Date                       Printed Name                                                       Signature
            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


    Ron Bender rb@lnbyg.com
    J Scott Bovitz bovitz@bovitz-spitzer.com
    Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
    Russell Clementson russell.clementson@usdoj.gov
    Andrew Michael Cummings andrew.cummings@hklaw.com,
     philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
    Michael G. Farag mfarag@gibsondunn.com
    Paul R. Glassman pglassman@stradlinglaw.com
    Michael I. Gottfried mgottfried@elkinskalt.com,
     cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
    Steven T Gubner sgubner@bg.law, ecf@bg.law
    Ralph P Guenther rguenther@guentherlawgroup.com
    Robert T. Honeywell robert.honeywell@klgates.com
    Lance N Jurich ljurich@loeb.com,
     pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
    Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
    Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
    Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
    Krikor J Meshefejian kjm@lnbyg.com
    Fred Neufeld fneufeld@sycr.com, tingman@sycr.com
    David M Poitras dpoitras@bg.law
    Paul M Rosenblatt prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
    Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
    Zev Shechtman Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
    Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
    United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
    Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
    Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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